       Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 1 of 45



                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


MALLINCKRODT ARD LLC.,


                 Plaintiffs,

      v.
                                               Civil Docket No. 1:19-cv-1471-ABJ
SEEMA VERMA, in her official capacity as
ADMINISTRATOR, CENTERS FOR
MEDICARE & MEDICAID SERVICES, and
ALEX M. AZAR II, in his official capacity as
SECRETARY, UNITED STATES
DEPARTMENT OF HEALTH AND HUMAN
SERVICES,


                 Defendants.


      REDACTED STATEMENT OF POINTS AND AUTHORITIES IN SUPPORT OF
       DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT AND
          IN OPPOSITION TO PLAINTIFF’S MOTION FOR A PRELIMINARY
                             INJUNCTION
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 2 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 3 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 4 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 5 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 6 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 7 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 8 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 9 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 10 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 11 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 12 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 13 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 14 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 15 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 16 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 17 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 18 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 19 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 20 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 21 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 22 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 23 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 24 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 25 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 26 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 27 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 28 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 29 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 30 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 31 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 32 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 33 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 34 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 35 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 36 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 37 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 38 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 39 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 40 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 41 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 42 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 43 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 44 of 45
Case 1:19-cv-01471-ABJ Document 20 Filed 07/12/19 Page 45 of 45
